         Case 1:18-cr-00032-DLF Document 40 Filed 06/26/18 Page 1 of 10




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                           Crim. No. 18-cr-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                 Defendant


    GOVERNMENT’S SUBMISSION RELATED TO A PERMANENT PROTECTIVE
      ORDER UNDER FEDERAL RULE OF CRIMINAL PROCEDURE 16(d)(1)

       The United States of America, by and through Special Counsel Robert S. Mueller, III, and

the United States Attorney for the District of Columbia, makes this submission regarding the

Court’s entry of a permanent protective order pursuant to Federal Rule of Criminal Procedure

16(d)(1) and 18 U.S.C. § 3771(a)(8).

                                        INTRODUCTION

       As set forth in detail herein, the proposed protective order seeks limited relief. It does not

limit in any significant manner defense counsel’s ability to prepare for trial and to use the disclosed

documents in the course of that preparation. What it does seek to do is to protect ongoing

investigative activities of critical national importance which could be compromised by the

disclosure of these documents or their contents to adversaries of the United States. See United

States v. Bin Laden, 58 F. Supp. 2d 113, 121 (S.D.N.Y. 1999) (“The concerns are heightened in

this case because the Government’s investigation is ongoing . . . .”). Although the Government is

confident that defense counsel would never intentionally compromise such investigative activity,

disclosure to individuals outside the United States, including those who have intentionally

absented themselves from appearance at trial, could well be the consequence of dissemination of



                                            Page 1 of 10
         Case 1:18-cr-00032-DLF Document 40 Filed 06/26/18 Page 2 of 10




these documents.

       The government recognizes that these documents are not classified. Nevertheless, as the

Court noted, they do concern highly sensitive matters, including ongoing investigations, and they

are entitled to the very limited form of protection sought by this motion. Rule 16(d) of the Federal

Rules of Criminal Procedure provides that on a sufficient showing the Court may “at any time”

order that discovery or inspection be restricted, “or make such other order as is appropriate.”

Moreover, “[a]mong the considerations to be taken into account by the court will be . . . the

protection of information vital to the national security.” Fed. R. Crim. P. 16 advisory committee’s

note (1966 amendment).

                                        BACKGROUND

       The government recognizes its obligation to provide discovery and the defendant’s right to

prepare a defense. The government has previously summarized the anticipated volume and type of

discovery in this case. (ECF No. 14.) On June 15, 2018, this Court entered an interim protective

order as to Concord Management and Consulting LLC directing the production of discovery to

defense counsel. (ECF No. 30.) On June 22, 2018, the government began its delivery of discovery

to defense counsel, consisting of over 300 gigabytes of data. The government also separately

produced over 400 documents—totaling approximately 10,000 pages—particularly relevant to the

charges in the indictment. 1 The government continues to prepare discovery and anticipates making

a second production of discovery at the end of this week.

       The Court also directed the government to identify possible Firewall Counsel, separate


1
  Because this was the “smaller select group of documents” discussed with Court at the June 15
hearing, it contained both sensitive and non-sensitive materials. The production was marked
sensitive as whole, but the government separately produced the non-sensitive materials in a
separate production, which was marked non-sensitive.



                                           Page 2 of 10
         Case 1:18-cr-00032-DLF Document 40 Filed 06/26/18 Page 3 of 10




from the prosecution team, to participate in the discovery process. Having conferred with the U.S.

Department of Justice, National Security Division (“NSD”), the government recommends that a

Trial Attorney from NSD’s Counterintelligence and Export Control Section (who will have a

Security clearance and the ability to consult with FBI) serve as the Firewall Counsel. 2

                                          ARGUMENT

       The government seeks a protective order that (1) prohibits disclosure of sensitive discovery

to any co-defendant that has not yet appeared before this Court, 3 (2) prohibits transportation or

disclosure of sensitive discovery outside the United States, (3) dictates any party who reviews the

sensitive discovery acknowledge and agree in writing to be “subject to the jurisdiction of the

Court” for purposes of the Court’s protective order, and (4) requires defense counsel to be present

when an authorized party reviews documents. The defendant, by contrast, proposes that sensitive

discovery be shared with designated officers and employees of Concord Management in the first

instance, including a charged defendant who has thus far absented himself from the proceedings.

    A. No Defendant Should Be Permitted to Review Discovery Until He or She Appears
       Before this Court

       This Court, during the June 15, 2018 status hearing, recognized the need for a protective

order that balances “national security and individual privacy concerns against the defendant’s

Sixth Amendment right to the effective assistance of counsel and its due process right to prepare



2
  On June 22, 2018, Assistant U.S. Attorneys Deborah Curtis, Jonathan Kravis, and Kathryn
Rakoczy from the U.S. Attorney’s Office for the District of Columbia and Trial Attorney Heather
Alpino of the U.S. Department of Justice, National Security Division, filed their notices of
appearance. (ECF Nos. 32 & 33). The government would identify separate NSD attorney(s) as
Firewall Counsel should the Court accept the government’s recommendation.
3
  The government previously sought to prohibit all discovery from being shared with a co-
defendant not before this Court. In an effort to resolve the disagreement with defense counsel over
the terms of the protective order in this case, the government has narrowed its request and but now
only seeks that limitation to apply to sensitive materials.


                                           Page 3 of 10
         Case 1:18-cr-00032-DLF Document 40 Filed 06/26/18 Page 4 of 10




and present a full defense at trial.” Transcript of Status Hearing at 18:11–15, June 15, 2018.

“Weighing these competing interests, it seems to [the Court] that some discovery should be

limited.” Id. at 16–17. “In particular, it seems reasonable for defense counsel to seek permission

of the Court before disclosing sensitive discovery materials to foreign nationals.” Id. at 17–20.

       Concord Management has tried to offer the government a Hobson’s choice: Produce

sensitive discovery materials to all of Concord Management’s officers and employees, or “dismiss

the case.” (ECF No. 27, at 11). But Defendant cites no legal precedent in support of its position

that indicted codefendants, to include foreign nationals located outside the jurisdiction of the

Court, are entitled to review any discovery, let alone sensitive materials. Courts in analogous

circumstances have taken the opposite position and recognized the inherent danger and unfairness

that arises when defendants seek to obtain early access to discovery.

       As the Supreme Court noted in Kaley v. United States, prematurely disclosing the

government’s witnesses and evidence “would give the defendant knowledge of the Government’s

case and strategy well before the rules of criminal procedure—or principles of due process . . .

would otherwise require.” 571 U.S. 320, 134 S. Ct. 1090, *1094 (2014) (internal citation omitted).

“And sometimes (particularly in organized crime and drug trafficking prosecutions, in which

forfeiture questions often arise), that sneak preview might not just aid the defendant’s preparations

but also facilitate witness tampering or jeopardize witness safety.” Id. at *1101–02. These same

concerns were raised by the government in its motion for a protective order and ex parte

submission. (ECF Nos. 24 and 25).

       The Federal Rules of Criminal Procedure do not require the government to produce any

discovery whatsoever, let alone sensitive materials, to a defendant until he appears before, and

submits to the jurisdiction of, the court. See Fed. R. Crim. P. 16(a). Nor do the holdings in Brady




                                           Page 4 of 10
          Case 1:18-cr-00032-DLF Document 40 Filed 06/26/18 Page 5 of 10




v. Maryland, 373 U.S. 83 (1963) or Giglio v. United States, 405 U.S. 150 (1972); see also Kaley,

134 S. Ct. at *1101 (“There is no general constitutional right to discovery in a criminal case[.]”)

(quoting Weatherford v. Bursey, 429 U.S. 545, 559 (1977)). Concord Management should

therefore be prohibited from sharing any sensitive materials with charged officers or employees at

this time, since none of them has appeared before this Court and all remain outside this Court’s

jurisdiction.

    B. Co-defendant Prigozhin’s Purported Control Over Defendant Concord Management
       Should Not Overcome Sensitive National Security Interests

        Prigozhin’s involvement in these proceedings through Concord Management appears to be

an effort to use his co-defendant as a stalking horse, or proxy, by which Prigozhin intends to serve

his own personal interests, including evading prosecution, while still being afforded access to

sensitive discovery—information that could thwart the ongoing efforts of the United States to

prevent his continuing criminal activity in Russia and elsewhere outside the United States. A

defendant’s “absence entitles him to no advantage,” as the Supreme Court noted in Degen v. United

States. 517 U.S. 820, 827 (1996). In Degen, the Court confronted the issue of a criminally charged

defendant living in Switzerland who refused to appear in the criminal proceeding but contested the

companion civil forfeiture proceeding arising out of the same facts. While the Court decided entry

of summary judgment against the absent defendant “too blunt an instrument” to “deter flight from

criminal prosecution” and “redress the indignity visited upon the District Court by Degen’s

absence from the criminal proceeding,” id. at 828, it rejected the suggestion that a District Court

could do nothing to redress the indignity. The Degen Court singled out protective orders as a way

to address the issue of an absent defendant, noting “the District Court has its usual authority to

manage discovery in a civil suit, including the power to enter protective orders limiting discovery

as the interests of justice require.” Id. at 826. The same principles apply here; to address



                                           Page 5 of 10
         Case 1:18-cr-00032-DLF Document 40 Filed 06/26/18 Page 6 of 10




Prigozhin’s refusal to appear personally, this Court may prohibit disclosures to Prigozhin until he

makes such an appearance. On the facts of this case, such a restriction would be appropriate.

       Separately, Prigozhin’s efforts to see the discovery without subjecting himself to the

jurisdiction of the Court undermines the Court’s ability to regulate discovery as contemplated

under Rule 16. As the Supreme Court explained in Alderman v. United States, “the trial court can

and should . . . place a defendant and his counsel under enforceable orders against unwarranted

disclosure of the materials which they may be entitled to inspect.” 394 U.S. 165, 185 (1969)

(emphasis added); see also United States v. Cordova, 806 F.3d 1085, 1090 (D.C. Cir. 2015)

(quoting Alderman). With Prigozhin refusing to appear, the Court cannot practically enforce the

provisions of the protective order against him. The defense has offered no explanation as to how

the Court can be assured Prigozhin will comport with the rules governing this discovery, and it

seems from Concord Management’s objection to the jurisdictional language proposed by the

government that Prigozhin will not consent to this Court’s authority to regulate his review of

discovery.

       To the extent Concord Management has taken the position that disclosure to, and

consultation with, Prigozhin is essential to its ability to prepare and present a full defense, such a

position raises a potential conflict of interest. 4 Counsel’s representation of Defendant Concord

Management, at the direction and control of Defendant Prigozhin, raises conflict concerns under



4
 As an initial matter, under the D.C. Rules of Professional Conduct, a lawyer owes the client a
duty of loyalty. See D.C. Ethics Opinion 272, May 1997 (“Undivided loyalty to a client is, of
course, a fundamental tenet of the attorney-client relationship.”). “A lawyer employed or retained
by an organization represents the organization acting through its duly authorized constituents.”
D.C. Rules of Prof. Conduct 1.13(a). The duty of loyalty extends to the organizational client, as
distinct from its owners and managers, and the lawyer must act in the best interests of the
organization as an entity. See D.C. Ethics Opinion 216, Jan. 1991.



                                            Page 6 of 10
         Case 1:18-cr-00032-DLF Document 40 Filed 06/26/18 Page 7 of 10




the ethical rules of the District of Columbia. 5 There are reasons to be concerned with defense

counsel’s ability to provide wholehearted and zealous representation, since an individual

defendant, Prigozhin, is, in turn, the sole shareholder and the (now) chief director of the two

organizational defendants, Concord Management and Concord Catering. 6

    C. All Sensitive Discovery Should Remain in the United States, and Prigozhin’s Refusal
       to Appear in the United States Does Not Compel Disclosure Outside the United States

       Practically, any sharing of sensitive discovery with Prigozhin before he appears before this

Court will amount to transporting or discussing the discovery outside the United States. 7 The

government has outlined in its prior motion and ex parte submission the ongoing law enforcement

and national security interests implicated by the discovery in this case. (ECF Nos. 24 & 25.) While

the government wishes to make this discovery available to U.S. defense counsel, the risk of

exposing this material to the Russian government warrants limiting the distribution and discussion

of the sensitive materials to within the United States and within the U.S. offices of the defendant’s



5
  During the May 9, 2018 arraignment of Defendant Concord Management, the government
informed the Court that filings with the U.S. Department of Treasury, Office of Foreign Assets
Control, indicated that defense counsel represents Concord Management and Concord Catering in
the current matter. Though defense counsel has not filed a notice of appearance on behalf of
Concord Catering, the simultaneous representation of two organizational defendants, at the
direction of a third, individual defendant, raises serious conflicts questions.
6
  The D.C. Rules of Professional Conduct, in the commentary (at ¶ 23) of Rule 1.7, warn: “[I]f the
organization client is a corporation that is wholly owned by a single individual, in most cases for
purposes of applying this rule, that client should be deemed to be the alter ego of its sole
stockholder. Therefore, the corporation’s lawyer should refrain from engaging in representation
adverse to the sole stockholder . . . .” Defense counsel, therefore, may be ethically prohibited from
raising the strongest defenses in favor of their client, Concord Management, if those positions are
adverse to Prigozhin, whom they do not even represent. Even assuming their interests are aligned
today, they might not always be so.
7
 The parties agree to keep discovery inside the United States in the first instance. (ECF No. 37,
¶14). However, defense counsel’s position makes inevitable that they will seek permission to take
sensitive discovery or disclose its substance outside the United States.



                                           Page 7 of 10
          Case 1:18-cr-00032-DLF Document 40 Filed 06/26/18 Page 8 of 10




counsel of record. As discussed previously, this approach is consistent with the approach taken by

other district courts where there is a heightened and transnational risk. See, e.g., United States v.

Lorenzana-Cordon, no. 1:03-cr-331 (CKK) (D.D.C. Mar. 19, 2015) (ECF No. 57) (ordering “[t]he

Protected Discovery may not be removed from the United States” and “must remain in the custody

of the Defense Counsel at all times”); see also United States v. Celis, 608 F.3d 818, 830 (D.C. Cir.

2010) (affirming use of protective order prohibiting pretrial disclosure of witnesses’ true identities

in Colombia, despite the fact that “prosecution rested on witnesses and events located in a foreign

country in which another language was spoken”). 8

        Prigozhin’s desire to stay outside the United States, thereby avoiding prosecution and

legitimate participation in the proceedings, is not an interest that overcomes any of the heightened

government and public interests implicated by the sensitive discovery in this case. This Court has

rightly concluded “it is clear that the discovery in this case contains sensitive, though not classified,

information that is relevant to ongoing national security investigations.” Transcript of Status

Hearing at 18:2–5, June 15, 2018. Therefore, even if the Court concludes that some sensitive

discovery should be produced to Prigozhin, the Court should condition that discovery on his

coming to the United States to review such discovery.



8
  In United States v. Celis, 608 F.3d 818, 830 (D.C. Cir. 2010), a number of government witnesses
from Colombia testified under pseudonyms. Id. at 830. Prior to trial, the district court entered a
protective order prohibiting the disclosure of witnesses’ true identities to “anyone located in
Colombia without the district court’s prior permission.” Id. at 829. No pretrial disclosure of
witnesses’ true identities was permitted outside the United States, over the objection of the defense.
Id.; see also id. at 833 (noting investigation was “not [permitted] pretrial as defense counsel would
have preferred”). The district court did not modify its order until well into trial (specifically,
nineteen days after trial had commenced), at which point it permitted defense counsel only to
investigate two witnesses in Colombia using their true identities. Id. at 830. On appeal, the D.C.
Circuit upheld the district court’s protective order prohibiting the disclosure of witnesses’ true
identities, concluding that the “protective order and its management by the district court reflect an
appropriate balancing of interests in the relevant case-specific context.” Id. at 833.


                                             Page 8 of 10
         Case 1:18-cr-00032-DLF Document 40 Filed 06/26/18 Page 9 of 10




   D. Concord Management’s Corporate Structure Is Flexible Enough to Accommodate
      Discovery in this Case

       At the June 15, 2018 status conference, this Court inquired into Concord Management’s

corporate structure, specifically asking “[h]ow many other officers [besides Prigozhin] does

Concord have?” Transcript of Status Hearing at 19:8, June 15, 2018. Defense counsel submits

that Concord Management currently claims only two officers, which presumably the defendant

will use as an argument in favor of allowing Prigozhin access to sensitive discovery.

       However, as recently as March 2018, Concord Management seems to have changed its

corporate officers. According to corporate records filed with the Federation Tax Service of the

Russian Federation, on March 1, 2018, Concord Management amended its corporate records and

listed Prigozhin as the General Director (equivalent to the Chief Executive Officer) of Concord

Management. (Ex. A, ¶5). Prior to March 1, 2018, Prigozhin was listed as the controlling

shareholder of Concord Management (indeed, the only shareholder) but not a corporate officer.

(Ex. A, ¶3). After this March 1, 2018 filing, Prigozhin, on behalf of Concord Management, signed

an engagement letter (dated March 23, 2018).

       The ability to alter and amend its management structure suggests that Concord

Management can also find a way to handle discovery and the pending proceedings by means that

U.S. corporate entities commonly use to handle criminal investigations (such as special litigation

committees and the hiring of independent directors).

   E. Requiring Defense Counsel to Be Present During the Review of Sensitive Discovery
      Is a Reasonable and Common Practice

       Limiting disclosure of sensitive discovery to the supervision of counsel is a common

practice to safeguard against disclosure or malfeasance of such discovery. See, e.g., United States

v. Olivares, 843 F.3d 752, 757 (8th Cir. 2016) (affirming use of protective order that permitted




                                           Page 9 of 10
         Case 1:18-cr-00032-DLF Document 40 Filed 06/26/18 Page 10 of 10




defendant “to review the discovery only in the presence of counsel or his agent”); United States v.

Moore, 322 F. App’x 78, 83 (2d Cir. 2009) (affirming use of protective order prohibiting defendant

from “preventing defendant’s unsupervised possession of § 3500 material, which included

statements by cooperating witnesses”); United States v. Deleon, No. CR 15-4268 JB, 2016 WL

7242579, at *7 (D.N.M. Oct. 28, 2016) (“All discovery material may be disclosed to and viewed

by a defendant in the presence of and under the direct supervision of his counsel of record or staff,

or another individual described in paragraph 1 of this Order.”); United States v. Russell, No. 15-

CR-30005-DRH, 2015 WL 6460134, at *2 (S.D. Ill. Oct. 27, 2015) (rejecting defendant’s motion

to modify protective order limiting review to counsel’s office). Given the heightened concerns

about disclosures outlined above, the same restrictions are reasonable in this case.

                                         CONCLUSION

       The Federal Rules of Criminal Procedure, and the Court’s inherent power, are flexible and

sensible enough to prevent a criminally charged defendant who refuses to come to the United

States from manipulating the criminal justice system to his own ends. For the reasons stated above,

the government requests the Court grant its motion and institute the proposed protective order.

                                                      Respectfully submitted,

JESSIE K. LIU                                         ROBERT S. MUELLER III
U.S. Attorney for the District of Columbia            Special Counsel

                                              By:            /s/ L. Rush Atkinson
Deborah Curtis                                        Jeannie S. Rhee
Jonathan Kravis                                       L. Rush Atkinson
Kathryn Rakoczy                                       Ryan K. Dickey
Assistant U.S. Attorneys                              U.S. Department of Justice
555 Fourth Street N.W.                                Special Counsel’s Office
Washington, D.C. 20530                                950 Pennsylvania Avenue NW
                                                      Washington, D.C. 20530
                                                      Telephone: (202) 616-0800
Dated: June 26, 2018




                                           Page 10 of 10
